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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                 CIVIL MINUTES – JURY TRIAL
                                              Day Fourteen


   Case No.: 3:17CV72                     Date: Nov 11, 2021

     Elizabeth Sines, et al                          Counsel: Roberta Kaplan, Karen Dunn,
     Plaintiff(s)                                    David Mills, William Isaacson, Yotam
                                                     Barki, Emily Cole
     v.
                                                     Counsel: Bryan Jones, David Campbell,
     Jason Kessler, et al                            James Kolenich
     Defendant(s)
                                                     Richard Spencer, pro se, Christopher
                                                     Cantwell, pro se

                                                     William ReBrook and Joshua Smith
                                                     Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:00-
   10:30=1hr 30min; 10:50-12:35=1hr 40min; 1:35-3:10=1hr 35min; 3:25-5:00=6hr 20min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                          LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1. Thomas Joseph Chesney (Video Depo)           1.
     2. Peter George Simi (Expert)
     3. April Muniz


          Plaintiff presents/continues presentation of evidence.

   Additional Information:
   Before jury seated issues addressed.

   Jury seated.

   Instructions read.

   Video deposition of Chesney continues.
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   Presentation of evidence as to James Fields read into the record.

   Testimony of Peter George Simi begins.
   Break.
   Testimony resumes.
   Cross by Mr. Kolenich.
   Mr. Spencer.
   Mr. ReBrook.
   Break

   Issue brought up regarding Sines testimony and Mr. Smith. Mr. Cantwell addresses issue.
   Sidebar

   Cross of Mr. Simi continues by Mr. Campbell.
   Mr. Jones.
   Mr. Smith.
   Mr. Cantwell.
   Redirect.

   Testimony of April Muniz begins.
   Cross by Mr. Spencer.
   Mr. Campbell.
   Mr. Cantwell

   Court adjourns until 9:00 a.m. on Nov. 12th.

   Scheduling discussed.
